                              Case 1:24-cr-00014 Document 13 Filed 06/26/24 Page 1 of 4
AO 24513 (Rev. 09/19)   Jucignienl in a Criminal Case                                                                                filed
                        Sheet I                                                                                                        Cip't



                                              United States District Court
                                                        District of Northern Mariana Islands                                       JUN 2 S 2224
               UNITED STATES OF AMERICA
                                                                           )
                                                                           )        JUDGMENT IN A CRlI^lf^ACCASfi                              Tana /


                                     V.
                                                                           )                                                            ^ CJe.i?)
                                                                           )
                                                                                    Case Number:              1:24-cr-00014-1
                    JULIAN PAUL ASSANGE                                    )
                                                                           )        USM Number:               21922-511
                                                                           )
                                                                           )         Barry J. Pollack, Retained Counsel
                                                                           )        Defeiiclanl's Attorne\'

THE DEFENDANT:

Ei pleaded guilty to count(s)             I


□ pleaded nolo contendere to couni(s)
  which was accepted by the court.
□ was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                              Offense Ended           Count

18 U.S.C § 793(g)                   Conspiracy to Obtain and Disclose National Defense                              2011

                                    Information




       The defendant is sentenced as provided in pages 2 through                4           of this Judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
□ Count(s)                                                □ is     □ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United Slates attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid.' if ordered to pay restitution,
the defendant must notify the court and United Slates attorney of material changes in economic circumstances.

                                                                                                                  6/26/2024
                                                                         Date of Imposition of Judgment




                                                                         ●Signature of Judsc




                                                                                               Ramona V. Manglona, Chief Judge
                                                                         Name and Title oTJudse



                                                                                                                  6/26/2024
                                                                         Date
                              Case 1:24-cr-00014 Document 13 Filed 06/26/24 Page 2 of 4
A0 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                         Judgment — Page   2     of   4
 DEFENDANT:              JULIAN PAUL ASSANGE
 CASE NUMBER:               1:24-cr-00014-1


                                                                IMPRISONMENT


           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
 Time served (62 months).




      □    The court makes the following recommendations to the Bureau of Prisons:




      □ The defendant is remanded to the custody of the United States Marshal.

      □ The defendant shall surrender to the United States Marshal for this district;

           □      at                               □     a.m.     □ p.m.         on



           □      as notified by the United Slates Marshal.

      □ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           □ before 2 p.m. on                                               .

           □ as notified by the United States Marshal.

           □ as notified by the Probation or Pretrial Services Office.


                                                                     RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                           to


 at                                                    , with a certified copy of this judgment.



                                                                                                      UNlTliD S'I'ATHS MARSHAL




                                                                                By
                                                                                                   DHPUTY UNITLD S'l ATLS MARSHAL
                             Case 1:24-cr-00014 Document 13 Filed 06/26/24 Page 3 of 4
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                          Judgment— Page       3    of        4
 DEFENDANT:            JULIAN PAUL ASSANGE
 CASE NUMBER: 1:24-cr-00014-1
                                                 CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                                                                                                                  ●k k
                       Assessment                Restitution              Fine                      AVAA Assessment*           JVTA Assessment
 TOTALS            $   100.00                $                       $                          $                          $




 □    The detemiination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.


 □    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(,i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                   Total Loss***                  Restitution Ordered        Priority or Percentage




 TOTALS                                                          0.00                                     0.00



 □     Restitution amount ordered pursuant to plea agreement S

 □     The defendant must pay interest on restitution and a fine of more than S2,500, unless the restitution or fine is paid in foil before the
       fifteenth day after the date of the judgment,pursuantto 18 U.S.C. § 3612(f)- All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 □     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       □ the interest requirement is waived for the              □ fine     □    restitution.

       □ the interest requirement for the            □    fine    □ restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims oFTrafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount or losses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 996.
                             Case 1:24-cr-00014 Document 13 Filed 06/26/24 Page 4 of 4
AO 245B (Rev. 09/19)   JiidgmeiU in a Criminal Case
                       Sheet 6 — Schedule of Payments

                                                                                                                  Judgment — Page     _4     of        A
 DEFENDANT:            JULIAN PAUL ASSANGE
 CASE NUMBER:              1:24-cr-00014-1


                                                          SCHEDULE OF PAYMENTS


 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     g]   Lump sum payment of $          IQQ.QO                   due immediately, balance due

            g]     not later than      6/26/2024                         or

            □      in accordancewith □ C, □ D,                     □     E,or      □ F below; or

 B     □    Payment to begin immediately (may be combined with                  □ C,         □ D, or      □ F below); or

 C     □    Payment in equal                          fe.g., weekly, monthly, quarterly) installments of S                  over a period of
                            (e.g.. months or years), to commence                        (e.g.. 30 or 60 days) after the date of this judgment; or

 D     □    Payment in equal                            (e.g.. weekly, monthly, quarterly) installments of $                  over a period of
                            (e.g.. months or years), to commence                          (e.g.. 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     □    Payment during the term of supervised release will commence within                  (e.g.. 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F     □    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 □     Joint and Several


       Case Number
       Defendant and Co-Defendant Names                                                       Joint and Several                Corresponding Payee,
       (including defendant number)                            Total Amount                        Amount                          if appropriate




 □     The defendant shall pay the cost of prosecution.

 □     The defendant shall pay the following court cost(s):

 □     The defendant shall forfeit the defendant’s interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JvTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
